                                                                                                                                                    1                        IN THE UNITED STATES DISTRICT COURT
                                                                                                                                                    2                              FOR THE DISTRICT OF ALASKA
                                                                                                                                                    3
                                                                                                                                                        C. WALTER EBELL,                          )
                                                                                                                                                    4                                             )
                                                                                                                                                                      Plaintiff,                  )
                                                                                                                                                    5                                             )      Case No. 3:13-cv-
                                                                                                                                                               vs.                                )      State Court Case No. 3AN-13-09123 CI
                                                                                                                                                    6                                             )
                                                                                                                                                    7
                                                                                                                                                        ZURICH AMERICAN INSURANCE                 )
                                                                                                                                                        COMPANY,                                  )      NOTICE OF REMOVAL TO
                                                                                                                                                    8                                             )      FEDERAL COURT
                                                                                                                                                                      Defendant.                  )
                                                                                                                                                    9                                             )
                                                                                                                                                   10
                                                                                                                                                        TO:           Clerk, United States District Court for the District of Alaska;
                                                                                                                                                   11
                                                                                                                                                        AND TO:       Plaintiff C. Walter Ebell, through his lawyers of record, Ray R. Brown and
                                                                                                                                                   12
                                                                                                                                                                      Dillion & Findley, P.C.
                                                                                                                                                   13
                                                                                                                                                               Pursuant to 28 U.S.C. §§ 1332, 1441 and 1446, Zurich American Insurance
                                                                                                                                                   14
                                                                                                                                                        Company (“Zurich”) hereby removes the case of C. Walter Ebell v. Zurich American
                                                                                                                                                   15
                                                                                                                                                        Insurance Company, state court case number 3AN-13-9123 CI, from Superior Court for
                                                                                                                                                   16
                                                                                                                                                        the State of Alaska Third Judicial District at Anchorage to the United States District
                                                                                                                                                   17
                                                                                                                                                        Court for the District of Alaska.
                                                                                                                                                   18
                                                                                                            (907) 257-5300  Fax: (907) 257-5399




                                                                                                                                                               Removal to federal court is proper based on the following facts:
Davis Wright Tremaine LLP

                                            188 West Northern Lights Blvd #1100




                                                                                                                                                   19
                                                                                  Anchorage, Alaska 99503




                                                                                                                                                               1.     On or about August 29, 2013, Plaintiff C. Walter Ebell (“Ebell”) filed an
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                                                                                                                                                   20
                                                                                                                                                        action against Zurich in the Superior Court for the State of Alaska Third Judicial District
                                                                                                                                                   21
                                                                                                                                                        at Anchorage. That action bears the same title as the above caption and is docketed in the
                                                                                                                                                   22
                                                                                                                                                        Alaska Third Judicial District at Anchorage under case number 3AN-13-09123 CI (the
                                                                                                                                                   23
                                                                                                                                                        “State Action”).
                                                                                                                                                   24

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                                                                                                                                                         Case 3:13-cv-00200-RRB Document 1 Filed 10/10/13 Page 1 of 4
                                                                                                                                                    1                                     TIMELY REMOVAL

                                                                                                                                                    2          2.     On or about September, 11, 2013, Ebell served a copy of the Summons and

                                                                                                                                                    3   Complaint in the State Action on Bret S. Kolb, Director of Insurance for the State of

                                                                                                                                                    4   Alaska, who thereafter forwarded a copy to Zurich. Therefore, this removal is timely

                                                                                                                                                    5   filed pursuant to 28 U.S.C. § 1446(b).

                                                                                                                                                    6          3.     A copy of all process, pleadings and orders served in the State Action is

                                                                                                                                                    7   attached as Exhibit A.

                                                                                                                                                    8                                DIVERSITY JURISDICTION

                                                                                                                                                    9          4.     This Court has original jurisdiction over the claims set forth in the

                                                                                                                                                   10   Complaint pursuant to 28 U.S.C. § 1332(a), on the basis of diversity jurisdiction.

                                                                                                                                                   11   Diversity jurisdiction exists where the matter in controversy is between citizens of

                                                                                                                                                   12   different states and exceeds the sum or value of $75,000, exclusive of interest and costs.

                                                                                                                                                   13   28 U.S.C. § 1332.

                                                                                                                                                   14          5.     Ebell is a citizen of a state different than the states in which Zurich is a

                                                                                                                                                   15   citizen. Complaint ¶¶ 1-2.

                                                                                                                                                   16          6.     Plaintiff is a citizen of Alaska. Plaintiff alleges in his Complaint that he is

                                                                                                                                                   17   and has been at all relevant time a resident of Alaska. Complaint ¶ 1.

                                                                                                                                                   18          7.     Zurich is a corporation organized under the laws of the State of New York,
                                                                                                            (907) 257-5300  Fax: (907) 257-5399
Davis Wright Tremaine LLP

                                            188 West Northern Lights Blvd #1100
                                                                                  Anchorage, Alaska 99503




                                                                                                                                                   19   with its principal place of business in Illinois. Complaint ¶ 2.
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                                                                                                                                                   20          8.     The amount in controversy in this litigation exceeds $75,000. Ebell prays

                                                                                                                                                   21   in his Complaint for damages “in an amount greater than $100,000”. Complaint, Prayer,

                                                                                                                                                   22   ¶ 1. In addition, Ebell prays for punitive damages, costs, attorney’s fees and interest.

                                                                                                                                                   23   Complaint, Prayer, ¶¶ 2-3. Ebell also seeks a judgment against Zurich finding that Zurich

                                                                                                                                                   24   is estopped from asserting any insurance coverage or insurance policy defenses against

                                                                                                                                                   25   Ebell under an insurance policy Zurich allegedly issued. Complaint, Prayer, ¶ 4.
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                                                                                                                                                    1          9.     Accordingly, the Complaint satisfies the diversity and amount in

                                                                                                                                                    2   controversy requirements of 28 U.S.C. § 1332(a). The State Action is, therefore, a civil

                                                                                                                                                    3   action over which this Court has original jurisdiction pursuant to 28 U.S.C. § 1332 and is

                                                                                                                                                    4   one that may be removed to this Court pursuant to the provisions of 28 U.S.C. §§1441

                                                                                                                                                    5   and 1446.

                                                                                                                                                    6                                             VENUE

                                                                                                                                                    7          10.    Venue is proper in this district and in this division pursuant to 28 U.S.C.

                                                                                                                                                    8   §1391 and District of Alaska Local Rule 3.3.

                                                                                                                                                    9                                            NOTICE

                                                                                                                                                   10          11.    Promptly after the filing of this Notice, Zurich will serve written notice of

                                                                                                                                                   11   this removal on Ebell, and will file a copy of this Notice of Removal with the Clerk of the

                                                                                                                                                   12   Court of the Superior Court for the State of Alaska Third Judicial District at Anchorage.

                                                                                                                                                   13   A copy of the Notice to State Court of Filing Notice of Removal to Federal Court that

                                                                                                                                                   14   will be filed with the State Court is attached hereto as Exhibit B.

                                                                                                                                                   15          WHEREFORE, Zurich respectfully removes the State Action to this Court.

                                                                                                                                                   16          DATED this 9th day of October, 2013.

                                                                                                                                                   17                                      DAVIS WRIGHT TREMAINE LLP
                                                                                                                                                                                           Attorneys for Defendant Zurich American Insurance
                                                                                                                                                   18
                                                                                                            (907) 257-5300  Fax: (907) 257-5399
Davis Wright Tremaine LLP




                                                                                                                                                                                           Company
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                                                                                  Anchorage, Alaska 99503




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                                                                                                                                                                                           By:     /s/ M. Scott Broadwell
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                                                                                                                                                   20                                              M. Scott Broadwell
                                                                                                                                                                                                   Davis Wright Tremaine LLP
                                                                                                                                                   21                                              188 W. Northern Lights Blvd., Suite 1100
                                                                                                                                                                                                   Anchorage, AK 99503
                                                                                                                                                   22                                              Telephone: (907) 257-5300
                                                                                                                                                                                                   Facsimile: (907) 257-5399
                                                                                                                                                   23                                              Email: scottbroadwell@dwt.com
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                                                                                                                                                        Ebell v. Zurich American
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                                                                                                                                                    1   Certificate of Service
                                                                                                                                                        I certify that on October 9, 2013,
                                                                                                                                                    2   a true and correct copy of the foregoing
                                                                                                                                                        document was served by U.S. Mail on:
                                                                                                                                                    3
                                                                                                                                                        Ray R. Brown
                                                                                                                                                        Dillon & Findley, PC
                                                                                                                                                    4   1049 W. 5th Avenue, Suite 200
                                                                                                                                                        Anchorage, AK 99501
                                                                                                                                                    5
                                                                                                                                                           M. Scott Broadwell
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